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                            TENTH COURT OF APPEALS

Chief Justice
    Tom Gray

Justice
     Rex D. Davis
     Al Scoggins

                          McLennan County Courthouse
                         501 Washington Avenue, Rm 415
                            Waco, Texas 76701-1373
            Phone: (254) 757-5200              Fax: (254) 757-2822



                    Clerk
     Sharri Roessler
                                       
                                 June 18, 2015



In accordance with the enclosed Memorandum Opinion, below is the judgment in the numbered cause set out herein to be entered in the Minutes of this Court as of the 18[th] day of June, 2015.

10-15-00132-CR	THE STATE OF TEXAS v. BAILLIE ADRIAN McKENZIE - ON APPEAL FROM THE COUNTY COURT AT LAW NO. 2 OF BRAZOS COUNTY - TRIAL COURT NO. 13-05340-CRM-CCL2 - DISMISSED - Memorandum Opinion by Justice Davis:

"This cause came on to be heard on the motion of the appellant to dismiss the appeal, and the same being considered, it is ordered, adjudged and decreed by the Court that the appeal be dismissed and that the appellant pay all costs in this behalf expended and that this decision be certified below for observance."
